      EXHIBIT A




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REX – Real Estate Exchange, Inc. v. Zillow, Inc., Slip Copy (2023)
2023 WL 4999100

                                                                  Seattle, WA, Thomas C. Rubin, Seattle, WA, for Defendant
                    2023 WL 4999100                               The National Association of Realtors.
      Only the Westlaw citation is currently available.
      United States District Court, W.D. Washington,
                         at Seattle.                                                   MINUTE ORDER

   REX – REAL ESTATE EXCHANGE, INC., Plaintiff,                   Thomas S. Zilly, Judge
                       v.
                                                                   *1 The following Minute Order is made by direction of the
          ZILLOW, INC., et al., Defendants.                       Court, the Honorable Thomas S. Zilly, United States District
                                                                  Judge:
                       C21-0312 TSZ
                             |
                                                                  (1) The motion for summary judgment, docket no. 339,
                    Signed August 4, 2023
                                                                  brought by defendants Zillow, Inc., Zillow Group, Inc.,
Attorneys and Law Firms                                           Zillow Homes, Inc., Zillow Listing Services, Inc., and
                                                                  Trulia, LLC (collectively, “Zillow”), is DENIED in part and
Augusto Cividini, Pro Hac Vice, Stephen N. Zack, Pro Hac          DEFERRED in part, as follows:
Vice, Ursula Ungaro, Pro Hac Vice, Boies Schiller Flexner
LLP, Miami, FL, Carl Goldfarb, Pro Hac Vice, Boies Schiller         (a) With regard to the claim brought by plaintiff REX –
Flexner LLP, Fort Lauderdale, FL, Cristina Moreno, Pro Hac          Real Estate Exchange, Inc. (“REX”) under Section 43 of
Vice, Darren McCarty, Pro Hac Vice, McCarty Law PLLC,               the Lanham Act,      15 U.S.C. § 1125, Zillow's motion
Austin, TX, David Boies, Pro Hac Vice, Boies Schiller &             for summary judgment is DENIED. Zillow contends that
Flexner, Armonk, NY, James P. Denvir, III, Pro Hac Vice,            REX (i) cannot prove the allegedly false statements at issue
Boies Schiller Flexner LLP, Washington, DC, Simon Leen,             were made in “commercial advertising or promotion,”
Pro Hac Vice, Boies Schiller & Flexner LLP, Los Angeles,            and (ii) cannot establish injury or damages. Zillow has
CA, Mark Rosencrantz, Teva F. Sempel, Carney Badley                 not demonstrated that REX is unable to satisfy the test
Spellman PS, Seattle, WA, for Plaintiff.                            for commercial advertising or promotion, which requires
                                                                    (1) commercial speech, (2) sufficiently disseminated to
Erica L. Fruiterman, John A. Jurata, Jr., Pro Hac Vice, Dechert
                                                                    the relevant purchasing public, (3) for the purpose of
LLP, Washington, DC, Jesse Beringer, Orrick Herrington &
                                                                    influencing consumers to buy goods or services. See
Sutcliffe, Washington, DC, Laura Brooks Najemy, Pro Hac
Vice, Orrick Herrington & Sutcliffe LLP, Boston, MA, Naomi               Ariix, LLC v. NutriSearch Corp., 985 F.3d 1107, 1115
J. Scotten, Pro Hac Vice, Orrick Herrington & Sutcliffe, New        (9th Cir. 2021); see also    id. at 1120. Zillow's reliance
York, NY, Paul Stancil, Pro Hac Vice, Orrick Herrington &
Sutcliffe LLP, Houston, TX, Russell P. Cohen, Pro Hac Vice,         on      Prager Univ. v. Google LLC, 951 F.3d 991 (9th
Dechert LLP, San Francisco, CA, Aaron Brecher, John Winn            Cir. 2020), and      Newman v. Google LLC, No. 20-
Wolfe, Aravind Swaminathan, Nicole M. Tadano, Orrick                CV-4011, 2021 WL 2633423 (N.D. Cal. June 25, 2021), is
Herrington & Sutcliffe LLP, Seattle, WA, for Defendants             misplaced. Unlike in Prager and Newman, which involved
Zillow Inc., Zillow Group Inc., Zillow Homes Inc., Zillow           “braggadocio” and “[l]ofty but vague statements” about
Listing Services Inc., Trulia LLC.                                  YouTube's commitment to “fostering a community where

Ethan Glass, Pro Hac Vice, Samantha A. Strauss, Pro                 everyone's voice can be heard,” see      951 F.3d at 995
Hac Vice, Cooley LLP, Washington, DC, Kathleen Alice                & 1000, this case does not concern protected speech or
Lanigan, Pro Hac Vice, Michael Domenic Bonanno, Pro                 puffery. Moreover, YouTube's challenged notice, which
Hac Vice, Michael Sebring, Pro Hac Vice, Peter Benson,              made no specific representation about the nature of the
Quinn Emanuel Urquhart & Sullivan LLP, Washington, DC,              plaintiffs’ videos, bears no resemblance to Zillow's two-
Michael Tetreault, Pro Hac Vice, Cooley LLP, San Diego, CA,         tab web design and associated labels. See   Newman,
Sarah M. Topol, Pro Hac Vice, Cooley LLP, New York, NY,             2021 WL 2633423, at *10 (quoting YouTube's notice
Christopher B. Durbin, Gabrielle Jean Hanna, Cooley LLP,            as stating, “This video is unavailable with Restricted
                                                                    Mode enabled. To view this video, you will need to


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                                                                       Court's ruling on the Lanham Act claim and incorrect under
  disable Restricted Mode.”). Thus, Zillow has not shown
                                                                       Washington law. REX has pleaded both the “unfair” and
  that it is entitled to judgment as a matter of law with
                                                                       “deceptive” prongs of a CPA violation. A trade practice
  regard to the “commercial advertising or promotion”
                                                                       may be considered “unfair” without being “deceptive” or
  component of REX's Lanham Act claim. In addition,
  contrary to Zillow's arguments, REX is not required to               involving “false” advertising. See Rush v. Blackburn, 190
                                                                       Wn. App. 945, 963, 361 P.3d 217 (2015). Zillow further
  prove actual, as opposed to likely, injury. See 15 U.S.C.            asserts that the two-tab design and associated labels do
  § 1125(a)(1). A Lanham Act plaintiff may prove injury
                                                                       not occur in trade or commerce, relying on          Browne
  by using “actual market experience and probable market
  behavior,” or “by creating a chain of inferences showing             v. Avvo, Inc., 525 F. Supp. 2d 1249 (W.D. Wash. 2007),
  how defendant's false advertising could harm plaintiff's             which is factually distinguishable and called into doubt by

  business.”         TrafficSchool.com, Inc. v. eDriver Inc.,             Panag v. Farmers Ins. Co. of Wash., 166 Wn.2d 27,
  653 F.3d 820, 825 (9th Cir. 2011) (emphasis in original).            204 P.3d 885 (2009). In Panag, the Washington Supreme
  Zillow contends that REX cannot link the decline in views            Court undermined the reasoning of Browne, and held that
  of its listings to the tab labels rather than the relegation         the CPA does not require a plaintiff to be a consumer
  of REX's listings to the secondary (non-default) tab. In             or in a business relationship with the defendant.          Id.
  doing so, Zillow quotes out of context and/or misstates the
                                                                       at 38–41; see        RCW 19.86.010(2) (defining “trade”
  deposition testimony of REX's expert Aradhna Krishna,
                                                                       and “commerce” as including “any commerce directly or
  Ph.D. and its co-founder Lynley Sides, and it merely
                                                                       indirectly affecting the people of the state of Washington”).
  raises factual disputes that preclude summary judgment.
                                                                       Zillow has not demonstrated that it is entitled to judgment
  Zillow also disregards the principle that an injury can have
                                                                       as a matter of law with respect to REX's CPA claim.
  more than one proximate cause, and it cites no authority
  for the proposition that REX must allocate fault between             (c) With regard to REX's defamation claim, Zillow's
  intertwined sources of harm, namely the tab labels, the tab          motion for summary judgment is DENIED. Zillow
  contents, and the tab default settings. This legal issue or          contends that REX's defamation claim fails as a matter of
  mixed question of law and fact must await further briefing           law because REX cannot prove damages. REX represented
  and trial. Finally, because REX has presented evidence               during oral argument that it seeks only nominal damages.
  from its expert David S. Evans, Ph.D. concerning the                 Tr. (July 27, 2023) at 115:21–116:2 (docket no. 456).
  present value of REX's future lost profits as a measure of           Given the record in this matter, the Court cannot determine
  damages relating to REX's Lanham Act claim, see POM                  as a matter of law whether REX can prove the actual
  Wonderful LLC v. Purely Juice, Inc., No. CV-07-2633,                 malice necessary to be entitled to nominal or presumed
  2008 WL 4222045, at *14 (C.D. Cal. July 17, 2008)                    damages. See Cascade Yarns, Inc. v. Knitting Fever, Inc.,
  (concluding that the plaintiff was “entitled to recover lost         No. C10-861, 2015 WL 3407882, at *7–8 (W.D. Wash.
  profits on sales it would have made, but for defendants’             May 27, 2015).
  false advertising”), and because Zillow does not dispute
                                                                       (d) With regard to REX's antitrust claims asserted pursuant
  that REX may seek nominal damages, Zillow's motion for
                                                                       to federal and state law, Zillow's motion for summary
  summary judgment on the ground that REX cannot prove
                                                                       judgment is DEFERRED.
  damages lacks merit.

   *2 (b) With regard to REX's claim for unfair or deceptive         (2) The Clerk is directed to send a copy of this Minute Order
  trade practices under Washington's Consumer Protection             to all counsel of record.
  Act (“CPA”), Zillow's motion for summary judgment is
  DENIED. Zillow's primary argument is that, if REX's
                                                                     All Citations
  Lanham Act claim fails, its CPA (unfair/deceptive practice)
  claim also fails. This contention is moot in light of the          Slip Copy, 2023 WL 4999100

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